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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON

                                 MEDFORD DIVISION


In re the Matter of J.P. and E.P:

ARNAUD PARIS,                                              Civ. No. 1:24-cv-00648-AA

                   Petitioner,                                JUDGMENT
             v.

HEIDI MARIE BROWN,

                  Respondent.
_______________________________________

AIKEN, District Judge.

       For the reasons set forth in the accompanying order, the Petition, ECF No. 1,

is DISMISSED without prejudice based on fugitive disentitlement.

      It is so ORDERED and DATED this             9th     day of August 2024.


                                         /s/Ann Aiken
                                        ANN AIKEN
                                        United States District Judge




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